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 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     JESSE ZAMORA
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9                                  )                       Case No.: 1:17-CR-00186 DAM-BAM
     UNITED STATES OF AMERICA,      )
10                                  )                       STIPULATION AND ORDER TO
               Plaintiff,           )                       CONTINUE THE STATUS
11                                  )                       CONFERENCE
           vs.                      )
12                                  )
     JESSE ZAMORA,
13   JESUS ALBERTO SALAZAR MARTINEZ )
                                    )
               Defendant            )
14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
15
     BARBARA A. MCULIFFE AND JESSE ZAMORA, ASSISTANT UNITED STATES
16
     ATTORNEY:
17
            COMES NOW Defendant, JESSE ZAMORA, by and through his attorney of record,
18
     DAVID A. TORRES hereby requesting that the status conference hearing currently set for
19
     Tuesday, October 10, 2017 be continued to Monday, December 11, 2017.
20
            Mr. Torres is currently out of the country and will not return until mid-October. Once he
21
     returns, he is scheduled to commence trial in the matter of People v. Gaffney; MF012426A in the
22
     Kern County Superior Court. I have spoken to counsel for the co-defendant as well as to AUSA
23
     Jeffery Spivak, they have no objection to continuing the status conference hearing.
24
            The parties also agree the delays resulting from the continuance shall be excluded in the
25
     interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).



                           Stipulation and Proposed Order to Continue Status Conference
                                                        1
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 1           IT IS SO STIPULATED.

 2                                                                   Respectfully Submitted,

 3   DATED: 10/4/17                                                  /s/ David A Torres         ___
                                                                     DAVID A. TORRES
 4                                                                   Attorney for Defendant
                                                                     JESSE ZAMORA
 5

 6
     DATED: 10/4/17                                                  /s/ Dale A. Blickenstaff     ___
 7
                                                                     DALE A. BLICKENSTAFF
 8                                                                   Attorney for Defendant
                                                                     Jesus Alberto Salazar Martinez
 9

10
     DATED: 10/4/17                                                  /s/ Jeffery Spivak____________
11                                                                   JEFFERY SPIVAK
                                                                     Assistant U.S. Attorney
12

13

14
                                                   ORDER
15
            IT IS SO ORDERED that the Status conference hearing be continued to December 11,
16
     2017. Time shall be excluded in the interest of justice pursuant to 18 USC 3161 (h)(7)(A) and
17
     3161 (h)(7)(B)(1).
18

19
     IT IS SO ORDERED.
20
        Dated:    October 5, 2017                                /s/ Barbara A. McAuliffe               _
21
                                                            UNITED STATES MAGISTRATE JUDGE
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                           Stipulation and Proposed Order to Continue Status Conference
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     Case 1:17-cr-00186-DAD-BAM Document 22 Filed 10/05/17 Page 3 of 3


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                 Stipulation and Proposed Order to Continue Status Conference
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